Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 1 of 12




                 IN THE DISTRICT COURT OF THE VIRGIN ISLANDS

                                  DIVISION OF ST. CROIX

JOSEPHAT HENRY resident of Harvey,
KAY WILLIAMS resident of Harvey,
SYLVIA BROWNE resident of Clifton Hill,          CIVIL NO. 1999/0036
MAUDE DREW resident of Estate Barren
Spot, MARTHA ACOSTA resident of
Estate Profit, WILHELMINA GLASGOW                ACTION FOR DAMAGES
as in individual and mother and next of
friend of SAMANTHA VIERA, a minor,
both    residents    of   Estate     Profit,     JURY TRIAL DEMANDED
MERCEDES ROSA resident of Estate
Profit, GEORGE RODRIGUEZ as an
individual and as father and next friend of
AMANDO          and      GEORGE          E.
RODRIGUEZ, minors, all residents of
Estate Profit, SONYA CIRILO resident of
Estate Profit, RAQUEL TAVAREZ,
resident of Estate Profit, NEFTALI
CAMACHO, as an individual and as
father and next friend of ANGEL JAVIER
CAMACHO a minor, both residents of
Estate Profit, EYAJIE MALAYKHAN
resident of Estate Profit, CHEDDIE
KELSHALL resident of Estate Profit and
other persons too numerous to mention,
A CLASS ACTION,

                     Plaintiff,

       v.

ST. CROIX ALUMINA, LLC, ALCOA
INC., and GLENCORE, LTD., f/k/a
CLARENDON, LTD.,

                     Defendant.




 PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE
 LTD’S MOTION FOR SUMMARY JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE
                              RELIEF
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 2 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 1


        The Class Plaintiffs, by and through their undersigned Counsel, hereby submit

their Statement of Material Facts in Support of their Opposition to Glencore Ltd’s Motion

for Summary Judgment on Class Claim for Injunctive Relief (“Glencore’s Motion”). 1

Plaintiffs submit this statement of material facts addressing the facts upon which the

Defendants have relied (using the corresponding serial numbering) and identifying any

and all other material facts, pursuant to LRCi 56.1(b). 2 All documents designated “Exh.

__” are authenticated by the Affidavit of Plaintiffs’ Counsel, attached hereto as Exhibit A.

                PLAINTIFFS’ STATEMENT REGARDING MOVANT’S FACTS

    1. Defendants’ Statement of Facts: “Glencore has never owned or operated the

        alumina refinery on St. Croix, as this Court has already held.”

            Plaintiffs’ Statement of Facts: Plaintiffs do not dispute that the Court made

        certain findings of fact regarding Glencore’s ownership interest in the alumina

        refinery on St. Croix based on a demonstrably false affidavit proffered by

        Glencore in support of its 2003 Motion for Summary Judgment. Plaintiffs dispute

        that Glencore’s never owned or operated the refinery based on the following

        statements filed with the SEC by Century Aluminum Company (“the Company”)

        that:
1
  Defendant Glencore Ltd. (“Glencore”) joined Alcoa’s Motion for Summary Judgment on Plaintiffs’ Class
Claim for Injunctive Relief and incorporated it by reference into Glencore Ltd.’s Motion for Summary
Judgment on Class Claims for Injunctive Relief and Memorandum of Points and Authorities in Support
Thereof (“Glencore MSJ”). See Doc. No. 1311 (Glencore’s Mot.), at p. 3. Both Motions were filed on May
15, 2009. A third Motion was filed by Defendants jointly on May 22, 2009. To avoid confusion, the
Motions filed on May 15, 2009 will be designated “Alcoa’s Motion” and “Glencore’s Motion” respectively,
and the Motion filed on May 22, 2009 will be cited as “Defendants’ Joint Motion” or “the Joint Motion”.
2
   Plaintiffs incorporate herein by reference Plaintiffs’ Statement of Material Facts in Support of their
Response to Defendants Alcoa, Inc. and St. Croix Alumina, LLC’s Motion for Summary Judgment on
Plaintiffs’ Class Claim for Injunctive Relief, Plaintiffs’ Statement of Material Facts in Opposition to
Defendants’ Motion for Summary Judgment on Plaintiffs’ Lack of Necessary Evidence, and Plaintiffs’
Statement of Material Facts in Opposition to Glencore’s prior Motion for Summary Judgment or, in the
Alternative, for Partial Summary Judgment.
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 3 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 2


                    In April 1995, pursuant to a restructuring within Glencore
                    International AG and its subsidiaries, (hereinafter, "Glencore
                    International," "Glencore" or the "Glencore Group", respectively),
                    Ravenswood acquired Virgin Islands Alumina Company
                    ("Vialco") and Berkeley (which was previously a direct wholly-
                    owned subsidiary of Century) and Ravenswood became a
                    wholly-owned subsidiary of Century. The restructuring was
                    accounted for as a transfer of interests among companies
                    under the common control of Glencore International and, as
                    a result, the assets and liabilities of Ravenswood have been
                    accounted for at historical cost. In July 1995, the Vialco
                    Alumina Facility was sold to a subsidiary of Alcoa L.L.C.
                    Accordingly, the Consolidated Financial Statements of the
                    Company do not include the historical results of Vialco. 3

                                                    ...

                    The Company is aware there has been contamination in the soil
                    and groundwater at the previously-owned Vialco facility. . . .
                    Pursuant to the contract for sale of the Vialco facility to St.
                    Croix Alumina, L.L.C. ("St. Croix Alumina"), a subsidiary of
                    Alcoa Alumina and Chemicals L.L.C., the Company has
                    retained liability for environmental conditions existing at the
                    time of the sale only to the extent such conditions require
                    remedial action, or give rise to claims, under laws in effect at the
                    time of sale. The Company will not have liability if remediation is
                    required or claims are made due to changes in law after the time
                    of sale. The Company has agreed to indemnify St. Croix
                    Alumina against claims arising from environmental
                    conditions for which the Company has retained liability.
                    The indemnity is capped at $18 million, and any claims
                    under the indemnity must be brought by July 24, 2001. 4

                    “Prior to 1996, Ravenswood and Berkeley operated as separate entities,

           under the control of Glencore.” 5          “Glencore Ltd. [was] a U.S. branch of

           Glencore AG, which in turn, [was] wholly-owned by Glencore.” 6

3
  Exh. 1 (Notes to Century Aluminum Co · 10-K · For 12/31/96, Filed On 3/27/97, Document 1 of 6), at p.
2 (emphasis supplied), verified by the attached affirmation of Lee J Rohn, Exhibit A.
4
    Id., at p. 7.
5
    Id., at p. 25 (emphasis supplied).
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 4 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 3


                     The Century Aluminum 10-K filing further establishes that:

                     on April 26, 1995, Berkeley and Virgin Islands Alumina
                     Corporation ("Vialco"), whose principal asset was an
                     inactive alumina refinery in the United States Virgin Islands .
                     . . became subsidiaries of Ravenswood. Substantially all of
                     Vialco’s assets were sold to an unrelated buyer on July 24, 1995.
                     The difference between the assets and liabilities of Vialco
                     was recorded as additional paid-in capital” to Century
                     Aluminum.” 7

                     “Prior to April 1996, the Company [Century Aluminum] was an

           indirect, wholly-owned subsidiary of Glencore. In April 1996, the Company

           completed an initial public offering of its common stock.” 8

               Moreover, the Acquisition Agreement between Glencore and Alcoa shows

           that Glencore was the “ultimate parent” of Vialco and the ultimate owner of the

           alumina refinery. 9 Plaintiffs further rely on their Statement of Additional Material

           Facts, infra, to demonstrate that not only did Glencore own and operate the St.

           Croix Alumina refinery, but also it retained liability for the public nuisance at issue

           herein.

      2. Defendant’s Statement of Facts: “Glencore is not the alter ego or agent of, and

           cannot be derivatively liable for the alleged wrongdoing of, its former thrice-

           removed indirect subsidiary, the Virgin Islands Alumina Company ("Vialco"), as

           this Court has already adjudicated.”



6
    Id.
7
    Id., at p. 25.
8
    Id.
9
    Exh.2 (1995 Site Acquisition Agreement), at p. 2, § 1.1.
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 5 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 4


                    Plaintiffs’ Statement of Facts: Plaintiffs do not dispute that the Court made

                    certain findings of fact regarding Glencore’s ownership interest in the

                    alumina refinery on St. Croix based on a demonstrably false affidavit

                    proffered by Glencore in support of its 2003 Motion for Summary

                    Judgment. The findings that “[i]n 1995, VIALCO Holdings sold its interest

                    in VIALCO to a company called Century Chartering Company” and that

                    “Century Chartering Co. is not affiliated with Glencore or any of its

                    subsidiaries” are contradicted by the evidence. 10 Id.              See response to

                    Defendant’s Statement No. 1, supra. The remainder of the statement is a

                    legal conclusion, not a statement of fact.

               PLAINTIFFS’ STATEMENT OF ADDITIONAL MATERIAL FACTS

      3.       Paul Arnold was “the Human Resources Manager for Vialco from 1987 until

           they closed.” 11

      4.       Glencore f/k/a Clarendon had final approval the salaries and benefits paid by

           Vialco. 12

      5.       “Representatives from Clarendon and then Glencore would come to Vialco 4-

           6 times a year or more” and “they would have progress meetings, discuss budget

           issues, [and] do plant inspections.” 13




10
     Doc. No. 1125 (8/10/07 Memo Op) at 2, citing the 12/8/03 Prusak Aff., ¶ 6.
11
    Exh. 7 (7/22/05 Affidavit of Paul Arnold), ¶ 2. By Order of the District Court, ¶¶ 4, 7, and 8 have been
stricken. See Doc No. 1125, at pp. 8, 9.
12
     Exh. 7, ¶ 3.
13
     Exh. 7, ¶ 6.
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 6 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 5


      6.      Representatives of Glencore f/k/a Clarendon would “either approve

           recommendations for improvements or direct that improvements be made.” 14

      7.      A 1989 report from Ormet Corporation identifying major local concerns about

           the operations of the Refinery, including the ability of the bauxite storage building

           to withstand storm conditions and the potential “air pollution problem” posed by

           bauxite residue was issued to Glencore f/k/a Clarendon, rather than to Vialco, the

           purported owner. 15

      8.      Pursuant to the 1996 10-K filed by Century Aluminum with the SEC, in April

           1995 Ravenswood “acquired” Vialco and became a wholly owned subsidiary of

           Century, and all three entities were identified as “companies under the common

           control of Glencore,” plainly demonstrating that Vialco was under the control of

           Glencore as of April 1995. 16

      9.      The Acquisition Agreement, dated July 19, 1995, states that “’Affiliate’ shall

           mean, with respect to any entity, any other entity directly or indirectly controlling,

           controlled by or under common control with such entity. For purposes of this

           definition, ‘control’ shall mean the possession, directly or indirectly, of the power

           to direct or cause the direction of the management and policies of an entity,

           whether through the ownership of voting securities or otherwise,” and clearly

           encompasses Glencore. 17


14
     Exh. 7, ¶ 6.
15
     Exh 3 (St. Croix Alumina Refinery Report to Clarendon, Ltd. (Bates Nos. G00207-68).)
16
     Exh. 1, Notes to Century Aluminum Co · 1996 10-K · Form.
17
     Exh. 2, Acquisition Agreement, at p. 13, § 8.1 (b).
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 7 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 6


      10.        With regard to the sale of the St. Croix refinery, the 1996 10-K form filed by

            Century, Glencore’s wholly-owned subsidiary, acknowledged that Century had

            “retained liability for environmental conditions existing at the time of the sale only

            to the extent such conditions require remedial action, or give rise to claims, under

            laws in effect at the time of sale” and indemnified Alcoa for up to eighteen million

            dollars ($18,000,000) for claims made by July 24, 2001.” 18

      11.       Glencore’s 30(b)(6) representative, Robert Prusak, testified that he was not

            “sure but I think that a Glencore company had to guarantee Vialco’s indemnity

            obligation to Alcoa,” which is memorialized in the Acquisition Agreement. 19

      12.       The Acquisition Agreement between Glencore and Alcoa recites that the

            indemnity obligations of the Seller “survive until July 24, 2001.” 20

      13.       The indemnification sections of the Acquisition Agreement are applicable to

            Glencore as the “ultimate parent” of Vialco and as a controlling “Affiliate”. 21

      14.       The indemnification sections provide that the “[w]ith respect to Pre-Closing

            Environmental Conditions, Seller shall be responsible for, and shall indemnify,

            save and hold Buyer and its Affiliates harmless against, any amount arising

            therefrom not to exceed $18 million.” 22



18
     Id., at p. 7.
19
     Exh 5 (Prusak Dep. 114, Feb. 22, 2002); Exh 2 at 14-17.
20
     Exh. 2, at p. 17, § 8.5.
21
  Exh.2, at p. 2, § 1.1; Exh. 1 Notes to Century Aluminum Co · 10-K · For 12/31/96. See generally
Acquisition Agreement, Exh.78, at pp. 12-17, §§ 8.1- 8.6..
22
     Exh. 2, at p. 13, § 8.2 (a).
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 8 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 7


      15.      “For purposes of this Article VIII, the term ‘Pre-Closing Environmental

            Conditions’ shall mean conditions arising from the operation of the Refinery by

            Seller or its agents, and existing at or before the Closing, pertaining to, without-

            limitation, surface or subsurface conditions, soil or the groundwater at the

            Refinery, any off-site disposal arranged by or for Seller, and the migration of

            substances from the real property of the Refinery, to the extent, and only to the

            extent, that such conditions, pursuant to Legal Requirements as in effect on the

            Closing Date and applicable to the Assets and the Refinery:

                   (1) require (with or without notice or a Judgment with respect

                   thereto) remedial investigation and/or action and/or involve suits,

                   actions or other proceedings for remedial action, study or

                   investigation, and/or

                   (2) give rise to Judgments, claims, demands, penalties, costs,

                   and/or other liability of any nature of Buyer.” 23

      16.      The provisions of Section 8.2 (a) notwithstanding, “Seller shall only be

            responsible for and required to indemnify, save and hold Buyer and its Affiliates

            harmless with respect to such Pre-Closing Environmental Conditions if and to the

            extent that Buyer shall have given Seller prompt written notice that (1)

            compliance with Legal Requirements with respect to the matters covered by this

            Article VIII requires remedial investigation and/or action with respect thereto, or

            (2) a suit, action or other proceeding for remedial action, study or investigation

            with respect to a Pre-Closing Environmental Condition has been brought or filed

23
     Exh. 2, at p. 14, § 8.1 (a).
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 9 of 12
Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
Page 8


            or otherwise commenced against Buyer and/or any of its Affiliates which if

            successful could result in judgments, claims, demands, penalties, costs and/ or

            other liability of any nature of Buyer and/or any of it Affiliates with respect to a

            Pre-Closing Environmental Condition.” 24

      17.      Section 8.4 (a) provides that “Seller and Buyer shall cooperate with each

            other regarding any action called for or taken with respect to Pre-Closing

            Environmental Conditions (including, but not limited to, any investigation of

            and/or the initiation and/or implementation of any remediation with respect

            thereto) so that such actions are carried out in the most efficient cost effective

            manner which will not impede operations.” 25

      18.      When the Virgin Islands Department of Planning and Natural Resources

            (“DPNR”) assessed fees against SCA in 1996 for two months of air emissions in

            1995 under its permit, Glencore, not Vialco, promptly paid those fees directly,

            presumably in satisfaction of the Sellers’ obligation of indemnity, described in the

            Acquisition Agreement. 26

      19.      The underlying lawsuit for the claims of the newly-certified class of Plaintiffs

            herein was commenced in the Territorial Court in February 1999 and removed to

            District Court in March 1999. 27


24
     Exh. 2, at pp. 14, 15 § 8.2 (b).
25
     Exh. 2, at p. 15, § 8,4.
26
   Exh. 4 (Copies of receipt, check, and cancelled envelope (all bearing the name “Glencore, Ltd.”,
produced and identified by SCA as documents copied from DPNR), corresponding letter and invoice from
DPNR files).
27
     Doc. No. 943 (Magistrate’s 3/29/06 Rprt. & Recomm), at p. 4, Finding 1.
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 10 of 12
 Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
 PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
 JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
 Page 9


       20.       In 2003, Glencore proffered an affidavit in support of its prior Motion for

             Summary Judgment wherein its 30(b)(6) representative swore under penalty of

             perjury, in relevant part, that “[t]he VIALCO stock was, through 1995, owned by

             VIALCO Holdings.      Glencore's only relationship to VIALCO was as a thrice-

             removed parent company”. 28

       21.       Glencore’s representative further swore that:

                     [i]n 1995, VIALCO Holdings transferred its interest in VIALCO to
                     Century Chartering Company. Century Chartering Company is
                     not a subsidiary of VIALCO Holdings, Clarendon Holdings or
                     Glencore. Thus, at the time of Hurricane Georges in 1998, and
                     at the time this action was filed in 1999, VIALCO was merely a
                     “former thrice-removed indirect subsidiary of Glencore. 29

       22.       The deponent also swore that “Glencore and VIALCO assets were not

             intermingled,” “Glencore did not control VIALCO's spending,” “Glencore did not

             control VIALCO’s decision-making processes,” and “Glencore did not establish

             VIALCO’s policies or practices.” 30

       23.       An internet search found no company named Century Chartering Company

             and no such company received the transfer in interest of Vialco as the

             documents evidence that the correct name of the company was Century

             Aluminum Company and it was Ravenswood who actually acquired the interest

             in Vialco.




 28
    Exh 6 (Affidavit of Robert S. Prusak in Support of Glencore’s Motion for Partial Summary Judgment,
 dated 12/8/03), at ¶ 4.
 29
      Id., at ¶ 5.
 30
      Id., at ¶¶ 7, 13.
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 11 of 12
 Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
 PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
 JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
 Page 10


      24.      On June 03, 2008, the Court certified a new class of plaintiffs under Rule

            23(b)(2) but “only insofar as they seek cleanup, abatement or removal of the

            substances currently present on the refinery property”:

                  All persons who currently reside, work, and/or own property
                  in the projects of Harvey and Clifton Hill and the estates of
                  Barren Spot, Profit, Clifton Hill, and La Reine who, because of
                  the presence of bauxite and red mud on the St. Croix Alumina
                  Refinery Plant property due to defendants' conduct, could suffer
                  personal injuries or property damage in the future as a result
                  of exposure to that bauxite and red mud. 31



 Dated: July 24, 2009                            Respectfully Submitted:


                                                 BY:     s/Lee J. Rohn

                                                         LEE J. ROHN
                                                         ROHN & CARPENTER, LLC
                                                         1101 King Street
                                                         Christiansted, St. Croix
                                                         U.S. Virgin Islands 00820-4933
                                                         (340) 778-8855
                                                         (340) 773-2954 (FAX)




 31
     Doc. No. 1255 (6/3/08 Order), at p. 25. See also Henry v. St. Croix Alumina, et al., Civil Action No.
 1999-0036, 2009 U.S. Dist. LEXIS 31352 *3 (D.V.I. Slip Op. April 13, 2009) (acknowledging certification
 of “new class” on June 3, 2008).
Case: 1:99-cv-00036-HB Document #: 1327 Filed: 07/24/09 Page 12 of 12
 Henry v. St. Croix Alumina, LLC, et al., CIVIL NO. 1999/0036
 PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN OPPOSITION TO GLENCORE LTD’S MOTION FOR SUMMARY
 JUDGMENT ON CLASS CLAIM FOR INJUNCTIVE RELIEF
 Page 11


                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2009, a true and correct copy of the above and
 foregoing Plaintiffs’ Statement of Material Facts In Support of their Response to
 Defendants Alcoa, Inc. and St. Croix Alumina, LLC’s Motion for Summary
 Judgment on Plaintiffs’ Class Claims for Injunctive Relief was electronically filed
 with the Clerk of the Court using the CM/ECF system, which will send a notification of
 such filing (NEF) to the following:

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                                                             BY:    s/Lee J. Rohn     (sb)
